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                                       EXHIBIT

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                                                                                Piled by.
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       CIVIL DISTRICT COURT FOR THE PARISH OF O 1LEANS
                      STATE OF LOUISIANA
                                                                    2018 MAY 31 P 3 31
NO: 2016-9632                                                           D         N "M"

  COURTNEY HEBERT, INDIVIDUALLY AS SOLE BEN    R
 THE COURTNEY HEBERT IRREVOCABLE TRUST AND ON BEHALF
      OF THE COURTNEY HEBERPf14REV609fBEEPPRUST
                                         CLERK, CIVIL DISTRICT (:OURT
                                      VS.402 CP,/lL COURTS BUILE ING
                                         421 LOYOLA AVENUE - R JOM 402

 RICHARD J. HEBERT, RICHARD J. T      . ÜÈbAN LUCILLE
  LOCICERO AND FIRST NBC, A CORPORAT4GN-MGENSED-TO-DO----
      AND DOING BUSINESS IN TI      OF      ANÅ)3] PM
                                            Cashier            ehanks on
FILED:                                      p  er  r n r r a c 44
                                            -BEPUPY-C-bERK----------
                                            Case Number        2016- 39632

            MOTION FOR PARTIAL SUMMINRY JUDGMENT
                                            AmountReceived      $224.~_O
      NOW INTO COURT comes plainfiff,''CoBYfney I48dN Griffin, through
                                            Over Payment       $ O.00

undersigned counsel and moves this HonorabfgrO6diftTfèrfspahihl #t mmary judgment
                                            C h e ck # 3581 $224.00

in the above-captioned matter for the reasons more fully set ott in the attached

Memorandum.                                 item                     c ,arged     e aio   sai
                                            M otion for Summan/ J      $94.00   $94.00 $0.00

                                     Resp                  itted,       $ 130 00 $130100 30.00




                                     ROY A. 1 ASPANTI - (La. Bar No. 11119)
                                     110 Veterans Boulevard - Saite 360
                                     Metairie, Louisiana 70005-4930
                                     Telephone: (504) 835-5388
                                     Attorney for Courtney Hebe rt Griffin
    Case 2:19-cv-10172-JCZ-KWR Document 1-4 Filed 05/07/19 Page 12 of 45


                                                                     ED
       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                      STATE OF LOUISIANA 2018 MAY 3 i P 3: 31

NO: 2016-9632                                                      c SIyISION "M"

  COURTNEY HEBERT, INDIVIDUALLY AS SOLE BENEFICIARY OF
 THE COURTNEY HEBERT IRREVOCABLE TRUST ANI ON BEHALF
      OF THE COURTNEY HEBERT IRREVOCABLE TRUST

                                       VS.

 RICHARD J. HEBERT, RICHARD J. TOMENY, JR., LILL[AN LUCILLE
  LOCICERO AND FIRST NBC, A CORPORATION LICENSED TO DO
      AND DOING BUSINESS IN THE STATE OF LOUISIANA

FILED:
                                             DEPUTY CLERK

                                     ORDER

      Considering the foregoing motion,

      IT IS ORDERED that defendants Richard J. Hebert and Richard Tomeny show

cause on the          day of                          , 2018, at          a.m. why

summary judgment should not be rendered in favor of plaintiff.

      New Orleans, Louisiana, this           day of                       , 2018.



                                      JUDGE GIARRUSSO
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                                                             F tL 20
           CIVIL DISTRICT COURT FÓR THE PARIS OF ORLEANS
                          STATE OF LOUISIANA   PÍAY 3 p 3: 31
NO: 2016-9632                                                        DIVISION "M"
  COURTNEY HEBERT, INDIVIDUALLY AS SOLE B F   I I E OF THE
  COURTNEY HEBERT IRREVOCABLE TRUST AND ON BE FIALF OF THE
           COURTNEY HEBERT IRREVOCABLE TRUST
                                         VS.
   RICHARD J. HEBERT, RICHARD J; TOMENY, JR., LILLIAN LUCILLE
  LOCICERO AND FIRST NBC, A CORPORATION LICENSED TO DO AND
          DOING BUSINESS IN THE STATE OF LOUISIANA
FILED:
                                               DEPUTY CLERK
                                   CERTIFICATE
        This is to certify that the Motion for Partial Summary Judgment in the above-

captioned matter has been served upon defendant Richard J. Il ebert through his

attorney of record David L. Colvin at 230 Huey P. Long Avenue, Gretna, Louisiana

70053 and upon Richard J. Tomeny, Jr. at Two United Plaza, E550 United Plaza

Boulevard, Suite 702, Baton Rouge, Louisiana by United States mail on May 23,

2018.

                                      Respectfully submitted,



                                      ROY A. RASPANTI - ( a. Ear No. 1         9)
                                      110 Veterans Boulevard - Suite 360
                                      Metairie, Louisiana 70005-4930
                                      Telephone: (504) 835-5388
                                      Attorney for Courtney Hebert Griffin
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                            TRUST INSTRUMENT

                            December 30, 1992


                            Establishing the


                   COURTNEY HEBERT IRREVOCABLE TRUST


                             MICHAEL HEBERT

                                 Settlor


                             MICHAEL HEBERT
                                 Trustee




                                EXHIBIT
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      STATE OF LOUISIANA

      PARISH OF ORLEANS


                                   TRUST INSTRUMENT

                          COURTNEY HEBERT IRREVOCABLE TRUST


.          BEFORE ME, the undersigned Notary          Public   a.1d   competent
      witnesses, personally came and appeared:

            MICHAEL HEBERT, a person of the full age of majority and
            a resident of and domiciled in the Parish of Orleans,
            State of Louisiana (hereinafter, the SETTLOR) ;




            The term !'Trustee" used herein shall refer to the original
      trustee   as well    as   any successor or alternate,    ar.d   any other

      Trustee whether one or more.      The original Trustee, hereby accepts
      this appointment and agrees to be bound by the provieions of this
      Trust Instrument.




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              WHO DECLARED:

                                       I.    TRUST PROPERTY

              The    trust    property      shall    consist of    all   of   ··.he   property

        listed and described on schedule A attached hereto anct made a part
        hereof ,    together with such other property as may be                       added by

        SETTLOR or by third persons.           The SETTLOR hereby convey to TRUSTEE,

        in trust, all òf their individual and community rights, title and
        interest in the property listed and described on Schedule A to be

        held and administered as trust property in accordance with the
        terms and covenants of this Trust Instrument.

042                                           II.    TRUST

              2.1    Trust.     A single trust is hereby created.               The name of
        the trust shall be the COURTNEY HEBERT IRREVOCABLE TEUST.

              2.2    Irrevocability.         The trust shall be irrevocable.

              2.3    Children.     This trust is created for the                 benefit of
        COURTNEY HEBERT ( hereinaf ter " Child " ) .

                                  III.       INCOME BENEFICIARY

              3.1    Original Income Beneficiarv.-           Courtney Hebart shall be

        the original income beneficiary of this trust.
              3.2    Substitute Income Beneficiarv.          In the event of the death

        of COURTNEY HEBERT, this trust shall terminate and there shall be
        no substitute income beneficiary.

                                 IV.     PRINCIPAL BENEFICIARY

              4.1    Original Principal Beneficiary.              The Child shall be the

        original principal beneficiary of this trust.



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                        V.     ALIENATION BY THE BENEFICIARY

         The interest of the principal beneficiary shall i e sub ject to
  the maximum spendthrift restraints permitted by the laws of the
  State of Louisiana.

                                     VI.   TERMINATION

         6.1    Termination.         This trust shall terminate at 12:01 a.m.,
  December 31,        2034,   provided,    however,    that settlor specifically

  delegate to trustee,           and only upon written concurrence of                 all

  beneficiaries, the power to amend the trust to provide for a longer
  term which term, however, may not extend beyond the death of the

  last   surviving beneficiary;            and provided further          :hat    if   the
  Settler      dies   prior     December    31,   20.34,   then   this   trust    shall
  terminate at 12:01 a.m., December 31, 2015.

         6.2    Trustee Discretion.         The Trustee may terminate the trust

  at any time, if , in his sole discretion, the value of the trust
  property no longer justifies the expense of trust management.
         6.3    Disposition at Termination.           Upon any termiration of the

  trust, the Trustee shall deliver, free of trust, to the beneficiary
  the principal of the trust and all accumulated income,i if any, and
  all investments and reinvestments thereof.
                              VII.    POWERS OF THE TRUSTEE
         7.1    General Powers.        The Trustee shall have all c-f the powers

  that may be conferred upon trustees under applicable law.                           The
  trustee shall have the power to open bank accounts f ar the trust
  and shall be a signatory thereto. If a question should arise as to
  whether the Trustee has a particular power, this Trus: Instrument
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  shall be liberally construed as granting such power.                      Should

  further changes in the law expand the powers of t::ustees,                         the
  Trustee shall have those expanded powers.

       7.2     Additional Powers.       Without limiting the completeness and
  generality     of   the   Trustee's       powers   granted     by   the    preceding

  paragraph,    should those- powers          not include the fo lowing,             the
  Trustee     shall also    have    all of     the powers       enumer sted     in   the
  remainder of this Paragraph VII.

       7.3     Commingling.        To commingle the trust property of the
  trust created herein with the trust property of any other trust

  created for the benefit of the beneficiar                of the t:rust created

  herein, whether for investment, administrative of othar purposes,

  allotting to each separate trust an undivided interest in the
  commingled trust property which shall always . be equal to that
  trust's     proportionate       contribution       to   the    commingled      trust
  property.
       7.4     Contracts.     To enter into all contracts arid to take all
  such action with respect to the trust property as a fully competent

 individual could take with respect to his own property.
       7.5     Purchases    and    Sales.      To    purchase,    sell       exchange,

 partition or otherwise acquire and dispose of trust property, at
 Public or private sale for such purposes and upon such terms,
 including sales on. credit,           with or without security,               in such
 manner,     and at such prices as Trustee may determine; to purchase

 property for the trust from, or to sell trust property to, himself
 as Trustee and to sell trust property to any other trust whether

 created herein or not; to purchase for the benefit cf the trust


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  created herein its own stocks, its bonds, or other s ecurities or
  the stocks, bonds, or other securities of any affiliate; to loan

  and/or borrow        such    sums    on such terms        and conditions       as    are
  reasonable in the discretion of the Trustee.
          7.6     Operation of Businesses; Changes in Corporate Structure.

  To continue to op.erate or participate in . the operation of any
  business interest received by the Trustee for the trust, either as

  original trust property or otherwise, so long as Trus4tee may deem
  it advisable, to change the nature of the business, or enlarge or
  diminish the scope of its activities, to dissolve or                    .iquidate it,
  or   to        participate       in . any      incorporation,     change,     merger,
  consolidation,          reorganization,      dissolution or liquidation.              To
  participate         in     any    plan      of    liquidation,     recirganî2ation,
  consolidation or merger involving any company or conpanies whose
  stock     or    other     securities     may     be   subjected   to    any   plan   or

  reorganization alone or with any protective committee and to
  delegate to such committee discretionary powers relative thereto
  and to pay a proportionate part of the expenses of st.ch committee
  and any such assessments levied upon such plan;                        to accept and
  retain new securities received by the Trustee pursuan : to any such

  plan; to exercise all conversion, subscription, voting and other
  rights of whatsoever nature pertaining to such property; and to p'ay
  any amount or amounts of money Trustee may deem advis able.
          7.7     Options.     To grant options affecting trust property for
  such purposes and periods, upon such condition, in suc 1 manner, and

  at such prices as Trustee may determine.                  To purchase or receive
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     options for periods that may extend beyond the term of the trust,

     and, when Trustee may .deem it advisable, to exercise them for such
     price and on such terms and conditions as Trustee may see fit.

           7.8     Servitudes    and   Easements.           To    create   servitudes       or

     easements on trust property for such purposes and pe.riods, which

     may   extend    beyond     the    termination       of      the   trust,    upon     such

     conditions,     in   such manner       and    at    such pricer as         Trustee   may
    . determine.

           7.9     Leases.    To lease or give options to lease                  all or any
     part of the trust property for such price, and on such terms and

     conditions, for such purposes and at such rentals as Trustee may
     see fit, and for terms and periods that may extend beyond the term
     of the trust; to enter into, amend or extend all kinds of leases
     includinéJ but not limited to all kinds of predial leares, surface
     leases, oil and gas and mineral leases, with or without pooling
     provisions.
           7.10 Oil, Gas and Other Minerals.                To sell, leas e, exchange,
    042 partition or otherwise alienate oil, gas or other minerals and
     interests therein, and the right to explore for them, or options

     for any of these, by such instruments, in such forms, .for such
.    bonus,    rentals or other considerations, and for such terms and
     periods as Trustee may see fit, which may extend beyonc the term of
     the trust.      To invest in,       to acquire and I-etain foT so long a

     period as Trustee may see fit,               oil,   gas and mineral leases and

     rights in and to oil, gas and other minerals either in the form of
     mineral     interests,     royalties    or     other     proprietary or        working


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  interests, whether productive when acquired or non-productive when

  acquired, whether or not speculative in nature, with or without
 pooling     provisions,        to        explore   or        to   contract     for     mineral
  exploration and to drill and to enter into. Pooling, únitization,
  repressurization, and any other type of agreement relating to the

 development, operation and conservation of mineral property that,
  in Trustee's judgment is best for the trust.
         7.11 Partnerships.           To become a partner in súch partnerships

 as Trustee may see fit, whether as a limited or general partner, or

 partner in commendam, for periods that may extend bey 3nd the term
 of the trust.

         7.12 Borrowing.             To    borrow     money        by   obliga:ion         either
 unsecured or secured, in such amounts,. on such terms at such rates

 of interest or without interest, and in such manner as Trustee may
 think desirable and to secure such loans by mortgage,                                paün or
 pledge of trust property or otherwise, and to mortgage or pledge

 trust     property     for    any        period    of    time      Trustee     shall      think
 desirable,    even beyond the term of the trust.                          If a corporate
 trustee, to borrow money from its own banking departinent or from
 anyone else, for any purpose in connection with the aditinistration
 of the trust.
         7.13 Lending.         To    make     loans      of    trust    property      to    such

 persons,      firms,         partnerships,           corporations         or      political
 subdivisions, incluëling businesses or business interests as Trustee
 may hold in trust, and to beneficiaries of this trust, for such
 purposes and for such peribds, in such amounth and at such ratÂs of


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 interest, with or without security, and subject to such other terms
 as Trustee may determine.

          7.14 Exchanges.    To exchange trust property for of her property

 or to give options to exchange trust property upon sach terms as
 Trustee may deem advisable.

          7.15 Retention of Trust Property.         To hold and retain trust

 property in the form received so long as Trustee deems advisable,

  and. to purchase and retain securities or other properti es, although

  of a kind or in an amount that would not ordinarily be considered
  suitable       for trust investment,   whether or not such property is

  productive of income and even though it may not be prescribed or

  authorized       by   any laws   relating   to    the    investment      of        trust

  property, even to the extent of keeping all of the t cust ftind in

  one type of property, even though the total amount of cash so held
  shall     be    disproportionate   under    the   laws     applica ble        to     the
  administration and investment of trust property and even though the
  period of time in which the cash so held shall be longer than
. otherwise would be permitted.
          7.16 Distributions.      The Trustee may, but is not required, to

 make distributions or divisions of trust property at values fairly
  and equitably determined by the Trustee,                and,   when dividing or
 distributing funds or paying trust principal, to make such payment,                         .
 dïvision or distribution wholly or partly in kind by allotting and
  transferring specific movable or immovable property or undivided
  interests therein as part of the whole or any share or payment, at
  current value.
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       7.17 Improvements.     To raze any buildiÃ1gs or other structures

 as the Trustee may consider expedient;              to   improve or develop
 immovable property; to erect, alter, or repair any buildings or
 other structures and to make any other kind of improvements Trustee

 may   deem   proper;   to    receive,     accept,    hold,     usia,     controi,   .

 administer, build upon, manage or otherwise improve, repair, divide
 or subdivide all or any trust property in the same manner and to
 the extent Trustee may deem advisable.

       7.18 Allocations of Receipts and Disbursement s              fo determine

 which receipts shall be charged or credited to income and which to
 principal in any manner that fairly and equitably reflects a proper

 allocation between principal and income and to treat as income the

 whole of the interest,       dividends,    rents,    royalties or similar
 receipts from trust property, whether wasting assets or not and
 even if bought or taken at a value above par; to treat as income or
 principal    or   to   apportion    between     them       stock       dividends,
 extraordinary dividends, rights to take stocks or securities and
 the proceeds from the sale of immovable pròperty., alúhough such
 immovable property may have been partly or wholly unproductive; to
 charge to income or principal or apportion between them any expense
 of making or changing investments, brokers' commissions, agents'
 compensation,     attorney   and   accountant       fees     and   repairs     or

 improvements,. taxes, depreciation charges and trustee compensation;

 and, generally to detèrmine all questions as between p -incipÃl and
 income and to credit or charge to either or to appos1:ion between
 them any receipt or gain and any charge, disbursement or loss as is

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 seemed advisable in the circumstances of each case an it arises,

 notwithstanding any statute or rule                  of   law for distinguishing
 income from principal or any determination of the courts.

        7_._19 Agents   and    Employees.           To     employ   or   retain   such

 employees, agents and advisors as Trustee may deem                      1ecessary to

 assist in performing any duties of trustee, including, but by way
 of illustration only, investment advice, management advice and for

 any    other    purposes     the    Trustee       considers    advisable,    and   to
 determine reasonable charges for such services and to make payment

 therefor out of trust property.

        7.20 Mutual Funds.          To acquire and retain for so         .ong a period

  as   Trustee   may    see   fit     the   shares,      preferred or     common,   of

  investment companies, or investment trusts, whether of the open-end

  or· closed-end type and without notice to anyone, to pErticipate in

  any common trust fund maintained by any corporate trustee at any
  time serving hereunder.
        7.21 Life Insurance.          To insure the life of the beneficiary or

  the life of any other person in whose life the beneficiary of the

  trust may have an insurable interest.                  Life insurance shall be in
  such amounts as the Trustee may determine, and in such forms, as

  Trustee. may deem wise, by term insurance, whole life insurance,
  stated period payment insurance, endowment insurance or any other

  kind of life insurance.           Proceeds of life insurance nhall be made

  payable to the trust held for the beneficiary whether                  he insurance
  is on that beneficiary's life or on the life of a third personc

  Trustee may elect any option provided by any policy.                    Trustee may

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   surrender any of such policies at any time and obtain the cash
   surrender value, or may borrow against such value, or may exercise
   any other right of an owner of the policy.    The procee ds of each of

   such policies, whether collected before or after the death of the
   named insured, shall be added to the principal of tha trust.
        7.22 Custody and Location of Trus                 To keep G æ

   any part of   the   trust property at    any place   in Louisiana or
   elsewhere within the United States or abroad with such depositories
   or custodians and at such places as Trustee shall deem necessary or

   advisable and shall have the power to hold securities in the names
  of nominees.

        7.23 Powers of Attorney.     To give such powers of attorney,

  general or special,    with or without power of       substitution,   iri
  connection with the exercise of other powers as Trustee may deem
  advisable.

        7.24 Miscellaneous Agreements.     The Trustee may unter any and

  all kinds of agreements whether or not specifically described iÈ
  this paragraph.
        7.25 Disclaimers.    The Trustee,    on behalf of all of the
  beneficiaries, shall have the power to disclaim, renounce or refuse

  any original trust property or any additions to trust property in
  whole or in part whether inter vivos or mor is causa.

                 VIII.   SPECIAL POWERS OF THE

                                                 iciary. ThÂ trustee
  shall have full discretion and control as to the amount and time of
  distributions to the original income beneficiary.     The trustee may


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     accumulate income           as   he   sees    fit,   taking   into   account   funds
     available to the beneficiaries from all other sources known to the
     trustee.

           B.2      Distributions.         The Trustee shall have full discretion

.    and control as to the .amount and time of distribut ions to the
     income beneficiary.          The Trustee may accumulate income as he sees

     fit, taking into accbunt funds available to the bene ficiary from
     all other sources known to the Trustee.
           8.3      Invasion/Income Beneficiary.             Should Trustee determine

     that either of the original income beneficiary need rasources for

     health, maintenance or support in addition to their interest in the
     trust, and in addition to and taking into account funds available
     from other sources known to the Trustee, Trustee is authorized to
     make one or more distributions to that income bene:'iciary from
     accumulated income, even though such distribution theceby impairs
     the interest of another beneficiary.                 In niaking such di.stributions
     the Trustee shall be guided by the beneficiary ' s immediate needs
     without regard to the future needs of that beneficicry .or of the
     future needs of other beneficiaries.

           8.4      Invasion/Principal        Beneficiar-ies           Shotid   Tï-ustee
     det.ermine that a principal beneficiary needs resources for health,
     education, maintenance or support in addition to his interest in

     the   trust,     and   in   addition     to    and taking     into   account   funds
     available from oth'er sources known to the Trustee,                     Trustee is

     authorized to make one or more distributions to the.t principal
     beneficiary from accumulated income or principal. In making such

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     distributions the Trustee shall be guided by the baneficiary's

     immediate           needs    without           regard    to    the    future          needs      of    that
     beneficiary.

             8.5      Partial Distribution.                  Should the Trustee debermine that

     the principal beneficiary needs resources for the start of a new
     business         enterprise           or organization,           which has merit,                 in    the
     Trustee's sole and uncontrolled discretion, or desires to purchase
     his or her first principal residence.                            The Trustee ma r distribute
     up to twenty-five (25%) percent of the principal and accumulated
     income         available         at    that     time.         This    shall          be    a   one     time

     distribution          and        shall    reduce        the   interest          of    tha      recipient

     principal beneficiary.

             8. 6     Health.          The Trustee may determine that a beneficiary
     needs     resources          for      health whenever            Trustee        is        advised by      a
.    practicing,           licensed           physician        that       the    beneficiary               needs

     particular care, attention or treatment, and Trustee is advised
     that, the beneficiary will avail herself o                                 such meiical care,
     attention or treatåent.                    If, in an emergency                  a beneficiary is
     unable     to       give such consent,                 the physician's           ad ice        shall be
     sufficient.

             8.7      Education.            Trustee may determine that a beneficiary
     needs resources for education whenever Trustee is advised by any

     person     who       is     an    educator        by    occupation         or    profossion            that

     participation in                 a particular class of instruction, educational

     endeavor, course of study, or enrollment in a particular school,
     college        or    university           or     institution         of    learning            would    be


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 beneficial to the beneficiary,        and Trustee is advisad that the
 beneficiary will so avail himself .                                      .
       8.8    Maintenance and Support.      The Trustee may de ermine that

 a beneficiary needs resources for maintenance and support whenever

 the beneficiary lacks sufficient income and resources available

 from all sources known to Trustee to maintain a reasonable standard
 of living.

       8.9    Facility of Payment.    The Trustee may make pa(ment by any

 reasonable method, including the following:

       a.     directly to the beneficiary;

      b.      directly to the tutrix or tutor of the benef iciary;
      c.      to the legally appointed guardian of the ber eficiary;

      d.      by disbursing such amounts directly for the benefit of
              the beneficiary;

      e.      by depositing all or any part of the inc ome           into       a

              checking or savings account in a bank, savirgs and loan
              association   or other depository in      the   name   of       the
              beneficiary; or
      f.      to another trust for the benefit of the same teneficiary.

                      IX.   THE OFFICE OF THE TRUSTEE

      9.1     Bond.   No Truste.e shall be required to furnish bond.          No
 corporate trustee shall be required to furnish any security for the
 deposït of trust funds in its banking department.

      9.2    Liabiliti.     Trustee is relieved from all liability in
 connection with administration of the trust, except for liability
 for breach of the duty of loyalty to the beneficiary or for breach


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 of trust committed in bad faith.            If in the Trustee's hest judgment
 this Trust Instrument should not be recorded in the public records,
 Trustee is absolved of all liability for failure to record in good
 faith.
       9.3    Compensation.       The Trustee shall be entitled to receive

 reasonable compensation for his services.                A corporate trustee

 shall be entitled to fix its compensation in accordance with its

 schedule as may be in effect from time to time,                   and may make
 payments to itself out of trust property.

       9.4    Accounting.       Trustee shall render such accourtings as are
 required by law.

       9.5    Attorneys;     Successors.      Trustee shall have the power to
 relieve any attorney for the trust and to designate a successor.

 The Trustees shall be fully protected in any action takan, suffered

 or performed in good faith, in accordance with the opinion of an
 attorney named above.

      9.6     Res ignations .     A Trustee desiring to resign s lall deliver

 written     notice   to    the    Settlor    and   beneficiary.     Notice   of
 resignation shall be in authentic form and shall bear tae effective

 date of resignation which shall be not less than thiri:y ( 30 ) days
 after its delivery.        Third persons shall be entitled to rely upon
 the notice of resignation.
      9.7     successors.       In the event that the origina] Trustee is
 unable or unwilling to continue as trustee or resigns as trustee,
 Richard J. Hebert shall be the successor trustee; ani, if he is

 unable or unwilling to serve, then Algiers Homestead sh-111 be named
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     successor trustee.               If Algiers Homestead is unwilling or legally

     incapable of being successor trustee, then Jefferson Guaranty ·Bank
     shall be named successor trustee.

           9. 8        Corporate Trustee.       A substitute corporate trustee shall

     be any national bank or bank chartered by any state of these United
     States       of     America      having    capital    funds   of   not     less    than

     $15,000,000. at the time of appointment.
                                 X.    MISCELLANEOUS PROVISIONS

           10.1 Withdrawal Powers.               For a period of thirty         (30)    days

     following notice of each donation of property to the trust, whether

     the donation be by original transfer or subsequent addition,                        the

     beneficiary         shall     have   the   power to    withdrdw    frord   the    trust

     property an amount ("withdrawal amount") equal in value to his
     share of the lesser of:

                   a. .     the donation; or,

                   b.       the annual federal gift tax exclusion ds from time
                            to time amended.
     For the purposes of this paragraph, amounts donated shall include
     premiums paid on life insurance policies held as truct property,
     whether paid or deemed paid by the Settlor, or by a third person.
.    The withdrawal amount shall be determined and valued as of the date
     of donation.          As to amounts transferred or added h/ any given
     donor,   the aggregate withdrawal amount during any calendar year

     shall not exceed the federal gift tax annual exclusioI. applicable
     to gifts made by the donor to the beneficiary applicable to that

     calendar year.         The power of. withdrawal shall be non-cumulative.


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                   10.2 Notice.   Each time a donation subject to the withdrawal
           power is received, the Trustee shall notify the b aneficiary in
           writing.     A power of withdrawal shall be deemed exercised upon

           delivery to the Trustee of written notice of the beneficiary s

           intention to exercise that power.           Unless the Trustee receives
           notice of exercise within thirty (30) days after giving notice of

           its availability to the beneÈiciary j the beneficiary s power of
           withdrawal shall 1.apse.
                   THUS DONE, ·READ AND SIGNED at New Orleans, Louisiana on this

           30th day of December, 19.92.
                                                                      i
           WITNESSES TO ALL SIGNATURES:


           NAME: ù..                         MIdH UÓMHÉ
                                   .         Settlor    , V




           NAME:    / 6 4 L-M.         4'.    IÓHAEM HÉBE
                                             Trustee


    . ..      P    I.    ER
           Noty Public
           Parish of Orleans
           State of Louisiana
           My commission expires at death




                                                              TARY P L C




.                                            -18-




                                                                 L
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              CIVIL DISTRICT COURT FOR THE PARISH OF OIREANS
                             STATE OF LOUISIANA
    NO: 2016-9632                                                        DIVISION "M"
      COURTNEY HEBERT, INDIVIDUALLY AS SOLE BENEFICIARY OF THE
      COURTNEY HEBERT IRREVOCABLE TRUST AND ON BEHALF OF THE
               COURTNEY HEBERT IRREVOCABLE TRUS
                                             VS.
       RICHARD J. HEBERT, RICHARD J. TOMENY JR., LILLIAN LUCILLE
      LOCICERO AND FIRST NBC, A CORPORATION LICENSED TO DO AND
              DOING BUSINESS IN THE STATE OF LOUISIANA
    FILED:
                                                   DEPUTY CLERK
                                        AFFIDAVIT
    STATE OF LOUISIANA
    PARISH OF JEFFERSON

          BE IT KNOWN, that before me, the undersigned authority, personally came

    and appeared

                            COURTNEY HEBERT GRIFFIN
    who, after being duly sworn, did depose and say:

          I have read the Motion for Partial Summary Judgment filed herein by my

    attorney in, the above-captioned matter and I respectfully submit that everything in

    said Motion for Partial Summary Judgment is true and correct. The Courtney Hebert

    Irrevocable Trust identified as Exhibit "A" in this Motion for Partial Summary

    Judgment and attached herein and made a part hereof as thougl copied herein in

.   extenso is a true and correct copy of said Courtney Hebert Irrevocalle Trust. I am the

    sole beneficiary in the Courtney Hebert Irrevocable Trust which Trust was established

    by my father Michael Allen Hebert on December 30, 1992. Tl e Richard Hebert

    "acknowledgment" identified as Exhibit "C" in the Motion for Partial Summary

    Judgment and attached hereto and made a party hereof as though copied herein in

    extenso is a true and correct copy of said "acknowledgment."

          I spent approximately $50,000.00 in attorney's fees in my legal fight against

    Richard Hebert and his attorney, Richard Tomeny - not count ná the additional

    $12,800.00 I4ebert and Tomeny took from my Trust to pay for Tcmeny's attorney's

    fees. Said $12,800.00 is represented by the three checks attached aereto and made a
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part hereof as though copied herein in extenso. The copy of the $170,517.75 check

attached hereto and made a part hereof as though copied herein in extenso was sent to

me by Hebert and was all there was left of n11y Trust as of October 19, 2015.




                                        dGURTNET HÈB             G
Sworn to and subscribed
before me, this      day
of 004             ,


Roy A. aspanti, LSBA #11119
Notary Public
Case 2:19-cv-10172-JCZ-KWR Document 1-4 Filed 05/07/19 Page 34 of 45




                                                  CASHIER'S CHECK                                111603304
                                                                                    October 1 20 5
                 WHITN Y BANIC
                  COLLINSBLVD                                                                    $170,517.75




           PA   0°                                                                    5/100**
                                               d Five Hundred Seventeen Dollars and 7
                 **One Hundred Seventy Thousan                 .
                                                                      NON NEGOTlABLE
                COURTNEY HEBERT IRREVOCABLE TRUST
                                                                                      COPY


            ADDRESS
      Case 2:19-cv-10172-JCZ-KWR Document 1-4 Filed 05/07/19 Page 35 of 45




                                                    Pagl             3 of3
                                                    Closè date:     02/21/2014
   WHITNEYBANT                                      Account Numb3r: 46Ó49230




conssoass c   6aowe
        02/21/2014    S3, 000, où




µ""" le 4%sa




        02/21/2014    $5, 500 . oö
           Case 2:19-cv-10172-JCZ-KWR Document 1-4 Filed 05/07/19 Page 36 of 45




                                                         Page:         3 of 3
                                                         Close Date:   01/23/2013
        WHITNEY BANK                                    Accoueueer: **9m



      40ES4DOLESC   04504923

              01/18/2013       $4,312.50




Eli
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                            ACknowledgement



September, 25,2015


It is hereby acknowledged that as trustee of the Courtney Hebert irrevoçable
Trust that the debt owed by the trust to Muriel Hebert (now deceased) in the
amount of 106,000.00 is being paid to Richard Hebert,her heir according to her
will.                                                         042



It is also acknowledged that the debt owect to Lucilie LoCicero of $219,000.00 has
been paid.




Richard Hebert trustee
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            CIVIL DISTRICT COURT FOR THE PARISH OF OELEANS
                                STATE OF LOUISIANA
NO: 2016-9632                                                             DIVISION "M"
 COURTNEY HEBERT, INDIVIDUALLY AS SOLE BENEFICIARY OF THE
 COURTNEY HEBERT IRREVOCABLE TRUST AND ON BEEIALF OF THE
          COURTNEY HEBERT IRREVOCABLE TRUST
                                            VS.
   RICHARD J. HEBERT, RICHARD J. TOMENY, JR., LILLIAN LUCILLE
  LOCICERO AND FIRST NBC, A CORPORATION LICENSli D TO DO AND
          DOING BUSINESS IN THE STATE OF LOUISIA A
FILED:
                                                  DEPUTY CLERK
                                      AFFIDAVIT
STATE OF LOUISIANA
PARISH OF JEFFERSON

      BE IT KNOWN, that before me, the undersigned authority, personally came and

appeared:

                       PATRICK M. LYNCH, CPA, CFF, CFE,
                        DABFA, CRFA, CPCU, CLU, CHFK

who, after being duly sworn, did depose and say:

       The interest calculations for the Courtney Hebert Irrevocable T1ust from March 12,

2012 through July 18, 2017, attached hereto and made a part hereof as though copied

herein in extenso, in the matter entitled Courtney Hebert, et al v. Richard J Hebert, et al,

#2016-9632 in the Civil District Court for the Parish of Orleans are true and correct.




                                            ATRICK               H

Sworn to and subscribed
before me, this   3     day
of A PR 1 L           , 2018.


Roy A. Raspanti, LSBA #11119
Notary Public
  Case 2:19-cv-10172-JCZ-KWR Document 1-4 Filed 05/07/19 Page 39 of 45




    PATRICK M. LYNCH, CPA CLU, ChFC, CFE, CFF,
               DABFA, CrFA, CPCU

                             SUMMARY
Patrick Lynch has 45 years of varied and in-depth business
experience. He has practiced public accountancy for 40 years, with two
"Big Eight" accounting firms and as the managing member of Rogers,
Lynch & Associates LLC. He was a contract surety.bond underwriter for
5 ýears before practicing public accouritancy. His areas of specialization
include the construction, health care, food manufacturing, asset based
lending, insurance, and public utilities industries.

Lynch has held Vice President Positions with the three international
insutance brökerage firms. He travelled extensively across the US designiri risk finance
programs and forming captive insurance companies in offshore and US dom ciles for Fortune
1000 companies. In 1994, he was the recipient of the Sedgwick, now Marsh, Téäm
Achievement Award for his contributions to the team effort to the developme t of Sedgwick's
client relationship with Dow Corning.
He used these experiences along with his entrepreneurial spirit to found his wn accounting
firm, Rogers, Lynch and Associates LLC (RLA). One of the accomplishment of his firm was
developing, marketing, and providing technical support of S.T.A.R.S 442., a s ftware used by
commercial lenders to monitor their receivable and inventory lines of credit, the major
corrímercial lenders in the US and UK. In conjunction with S.T.A.R.S 442,RL developed an
audit continuing education program for commercial lenders which the Nation I Association of
State Boards of Accountancy (NASBA) approved for Certified Public Accoun ants CPE credit.

Lynch has taught graduate and undergraduate tax accounting, forensic acc unting, and fraud
courses at the University of New Orleans, Loyola University, and Tulane Uni ersity.
Lynch performs forensic accounting arid fraud detection engagements for c mmercial lenders in
conjunctiori with their asset-based lines of credit. Additionally, he provides fi ancial accounting,
tax, risk finance and contract surety bond consulting services to privately hel companies.
He, also, has qualified and testifies as an expert witness in the US Bankrupt y Court. He has
been interviewed on numerous occasions by Lee Zurik, Fox News 8's invest gative reporter,
regarding various incidents of public corruption. Other media personnel hav sought his
expertise in tax, and he frequently addresses orgånizátions on tax and fraud implications. In
2011, he was appointed by Mayor Yenni to the City of Kenner's Streamlinin Committee, a task
force comprised of local movers and shakers charged with devising a plan t solve the city's
$3.5 million budgetary short fall.
 In 2013, CitýBusiness selected Lynch to be a CityBusiness Money Maker. oney Makers are
recognized as 50 professionals whose fiscal work has set the pace for their ompany and the
region. Nominations were accepted throughout 2013, and a selection comm ttee reviewed and
chose the top candidates based on industry and community involvement, as weil as their career
achievementsc
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    Designations:
           042
             Certified Public Accountant (CPA),
           042
             Certified Fraud Examiner (CFE),
           042
             Certified in Financial Forensics (CFF)
          042Diplomat-American Board of Forensic Accounting (DABFA),
          042Certified Forensic Accountant (CrFA),
           042
             Chartered Property and Casualty Underwriter (CPCU),
           042
             Chartered Life Underwriter (CLU),
           042
             Chartered Financial Consultant (ChFC),
           042
             Associate in Risk Management (ARM),
           042
             Associate in Insurance Claims (AIC),
.          042
             Associate in Fidelity & Surety Bonding (AFSB),
           042
             Associate in Reinsurance (ARe), and
           042
             Associate In Surplus Lines insurance (ASLI)



    Professional Experience
      ROGERS, LYNCH & ASSOCIATES LLC - New Orleans, LA
      1995-Present
      Managing Member
                Areas of Emphasis:
                     042
                       Business Consultancy
                     042
                       Forensic accounting
                     042
                       Insurance brokerage and underwriting, with particular 3mphasis on
                       designing risk finance programs
                     042
                       Captive insurance companies formation, both offshore and domestically
                     042
                       Contract surety bonding
                     042
                       S.T.A.R.S. 442development, marketing, and technical sapport
                     042
                       Editorial Advisory Committee öf Construction Business Review
                     042
                       Editorial Advisory Board of the Journal of Forensic and investigative
                       Accounting
                     042
                       Speaker for The Risk and Insurance Management Society(RIMS)
                       conferences, State CPA Society continuing education conferences, and
                       Associated General Contractors(AGC) and Associated Builders and
                       Contractors (ABC)




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Undergraduate/Graduate Courses in Accounting and Risk Finance
1993 - Present
          Institutions:

                  Tulane University A.B. Freeman School of Business-
                      > Financial Accounting , Professional MBA 6110
                      > Accounting Management and Control, MS Management 6050
                  Loyola University of New Orleans-
                      > Courses Taught - Accounting Principles, Intermediate Accounting
                         i & 11, Cost Accountirig, Advanced Accounting, -axation I & II,
                         Auditing, and graduate level Fraud Examinatior , Forensic
                         Accounting, Financial Accounting and Managerial Accounting.
                      > Courses Developed- developed the Forensic Accounting
                         curriculum
                      > Service- faculty advisor for Beta Alpha Psi. Served on the
                         University Senate and the University Senate Finance Committee,
                             the Undergraduate and MBA Curriculum Comn ittees,judge for
                            the ACG Louisiana Cup M&A Case competitior, and serve on the
                  .         Editorial Advisory Board of "The Journal of Forensic and
                            Investigative Accounting".
                          > Awards- Recipient of the 2008 College of Busir ess Faculty Award
                            for Outstanding Teaching and the 2010 and 2011 College of
                            Business Faculty Awards for Outstanding Service.
                          > Nominations- Nominated for the 2010 University Senate Faculty
                            Teaching Award.

                042
                  The University of New Orleans Accounting principles, accounting in a
                  health care setting, accounting for MBA students as well as accounting
                  for The Executive Health Care Management Program
                042
                  Delgado Community College- Accounting Principles.
                042
                  Tulane University Guest Lecturer on Financial Statement Fraud
                042
                  The Society of Certified Insurance Counselors (CIC)
                042
                  The Society of Chartered Property and Casualty Unde writers (CPCU)

SEDGWICK (Now NIarsh)- Nashville, TN
1992-1995
Senior Vice President and Manager of The Risk Finance Consulting Practice
           Responsibilities:
                042
                  Overall management of The Risk Finance Consulting 3ractice
                042
                  Production, supervision, and completion of consulting engagements
                042
                  Formation of captive insurance companies in offshore and US domiciles
                042
                  Taxation and Financial Accounting Counsel, to all US Brokerage Offices,
                  regarding various financial insurance and reinsurance programs
                042
                  Recipient of the 1994 Team Achievement Award for o Jtstanding
                  contribution to the team effort to the development of Sedgwick's client
                  relationship with Dow Corning



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COOPERS & LYBRAND ( Now PricewaterhouseCoopers) - Atlanta, GA
1991-1992
Senior Risk Management Consultant
           Responsibilities:
               042
                 Production and completion of consulting engagements
                     > Competitive marketing of insurance programs,
                     > Broker and Third party administrator service au Jits
                     > Property and casualty coverage audits
                     > Risk finance program design
                       > Cost allocation system design
                       > Formation of captive insurance companies in olfshore and US
                          domiciles
                 042
                   Risk Management Consultant to the LARTC for the construction of the
                   mass transportation Red & Blue Lines.

CORROON & BLACK (Now Willis) - Nashville,TN
1987-1991
Vice President and Senior Risk Management Consultant
           Responsibilities:
                042
                  Design of casualty risk finance programs that optimally satisfied the
                  client's financial and operational objectives, including the formation of
                  captive insurance companies in offshore and US dominiles
                042
                  Chairman of the Construction Industry Division's Risk t/lanagement
                  Committee.



JOHNSON & HIGGINS OF LOUISIANA, INC. (Now Marsh)- New Orleans, LA
1982-1987
Construction Industry Coordinator
           Responsibilities:
               042
                 Management of Louisiana Construction Division's sales, marketing, and
                 account servicing activities
               042
                 Contract surety bonds marketing
               042
                 Development of new and fostering existing insurance company relations
               042
                 Active role in the development and sales of Johnson & Higgins' Davis -
                 Bacon Program -- "CONSTRUCT".




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   DELOITTE HASKINS & SELLS (DELOITTE & TOUCHE) - New Orleant, LA
   1977-1982
   Senior Accountant
             Responsibilities:
                  042Audit engagements planning and supervising (specialized in the
                     Construction, Health Care, And Public Utilities Industrios)
                  042Firm member of National Construction Industry Practica Committee



   UNITED STATES FIDELITY & GUARANTY COMPANY( Now St. Paul) - New Orleans, LA
   1972-1977
   Contract Surety Bond Underwriter
             Responsibilities:
                  042
                    Contract surety board accounts production and underwriting throughout
                    Louisiana


Academic Experience:
Tulane Uriiversity A. B. Freeman School of Business, Adjunct Professor 2015 -
Loyola University, Assistant Professor 2006 through 2015
Tulane University, Guest Lecturer ori the subject of Financial Statement Fraud 2003 to
2010
University of New Orleans, Adjunct Professor 2004 to 2006 & 2016 -
Delgado Community College, Adjunct Professor 2005
Society of CPCU, Adjunct Professor 1993 to 1998
Society of CIC, Guest Lecturer 1995 to 1998
Executive/CPA continuing education 1993 through 2004

Courses Taught:
       042
        Intermediate Accounting i & 11
       042
        Individual & Corporate Taxation
       042
        Auditing
       042
        Advance Accounting
        042
         Cost Accounting
        042
         Accounting Principles
        042
         Financial & Managerial Accounting - Undergraduate & Graduate Levels
        042
         Forensic Accounting - Graduate level
        042
         Fraud Examination - Graduate level
        042
         Principles of Fraud - Undergraduate level




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Education:
       042
         University of New Orleans 1972
          BS General Business Administration
        042
         University of New Orleans
          Required accounting courses to sit for the CPA exam
          Passed the CPA Exam the first time taken May 1977
        042
          University of New Orleans 1987
           MS Accounting - Taxation Option (This is a terminal degren.), Phi Kappa Phi

Publications:
   CPCU Journal:
      042
        "A Strategic Approach to Designing the Optimal Primary Casualty Risk Financing
          Program"
        042
          "What's Your Authoritative Tax Source?"
        042
          "Excess Liability Limit Determination: A Rational and Systematic Approach"
        042
          "Finite Risks Insurance andFASBf13 Accounting and Reporting or Reinsurance
          of Short-Duration and Long-Duration Contracts "
  Construction Business Review:
      042
        "Preparing for A Hard Insurance Market"
  John Liner Review
      042
        "Designing the Optimal Primary Casualty Program: The General Patton Approach"
  Risk Management Magazine:
       042
         "Will FASB #94 Close the Purest Captive Door?"
       042
         "Solving the Puzzle of Cost Stabilization Plans"
  Captive Insurance Company Reports
       042
         "Solving the Puzzle of Cost Stabilization Plans"


  The Secured Lender:
       042
         "To Distribute Or Not to Distribute The Asset Based Lending Fielc Exam Report?"
       042
         "The Asset-Based Borrower Can Survive the Workers' CompensEtion Crisis"
  Surety Scope:
      042"Forgive Them for They Know Not What They Do" A Commentary Of How A Surety
         Bond Underwriter Can Jeopardize Favorable Tax Treatment Accorded Debt Service
         Payments To The Contractor's Shareholder-Creditor
  The Small Business Controller:
      042
        "Risk Retention Level Determination: A Comprehensive Approach"
       042
        "Can Small Business Survive the Worker's Compensation Crisis?'


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Journâl of Construction Accountinq & Taxation
    042
      "Can The Construction Industry Survive the Worker's Compensat on Crisis?"
    042
      "What Is the Optimal Primary Casualty Risk-Financing Program fc r the Construction
      Contractor?"

Healthcare Financial Management
     042
       "Involving Physicians in Cost Reduction Strategies''
The Sedgwick White Paper
    042
      "What's Your Authoritative Tax Source?"
    042
      "Determining Optimal Risk Retention in the Healthcare Industry"




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